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B 240 - Rtaamrmation Agrmm¢m
(10!05)) l
Unimd St.atas Bankruptcy Cmtrt
Dl$tl`ltt of Noi'fhem Disfrict Of TQXM
|n re Raymond R. Cosme f nose NU“MM

 

Dat)tor Chapter Z, _..__

WHEHAIIQN.AGREEM£NI

[|nclicate all documents included in this filing by checking each applicable bux.]

 

IPart A: Disclomes, ln$miction:;. and I:l Part D: Dohtor'a Stawment in Support at
Notice to Dabtot (Pages 1 ~» 4) Reafliimailttrt Agreamant

lPart B: Reall'irnmtlon mem l:l F’art E: Motion for Cotot Approvat

Patt C: Cettlficatlon by btor's E;] nopon Order Approvlng Rm.tllmatiun
Attnmay Agraemant

FART A: DlSCLOSURE STATEMENT, INSTRUCTIONS AND NDT|CE TO UEBTDR
1. DlSCLOSURE STATEMENT
Bolore Agraeing to Roaii'lhn a Debc, Revlaw Thm impcmm Disclosums:

SUWARY OF REAFF|R!MT|ON AGREEMENT
THsSumarylsmndeptnummmnqowmmsolutaBankrupwyCode.

     

m,midmwm

b. Ail fees and costs accrued as of the data of this
disclo$ure motement. related to the amount of debt

shown in a.. abova: t $_,__Q;_QQ__
c. The total amount you have agrwcl tn mmrm
Debt and fees and mm) (Add lines a, and h.): $ 59,?¢2.52

Yottr credit agreomqnt may obligate you m pay additional umw which may com clue latter
tha claim of this disciusure. Gonsult your credit agrwnm.

unnamme wl

 

 

 

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[The annual percentage rate can be disclosed in different ways, depending on the type of debt.]

_ a. lf lite dept is an extension of "credit' under an "open end credit plan,' as those terms are defined in
§ 103 of the Truth in Lending Act, such as a credit cerd, theoreditor ina disclose the annual percentage
rate shown in (l) below or. to the extent this rate is not readily aveildg|e
interest rate shown in [l|) helpw, dr both.

or not applicable the simple

 

 

 

$ @ %;
$ @ %;
$ @ %:

 

b. if the debt is an extension of credit other tltan under than an open end credit plan, the creditor may
disclose the annual percentage rate shown in {i) helcw. cr. to the cream this rate is not readily available cr
not applicable the simple interest rata shown in [ii) below. or petit

 

 

 

 

---Anler---

lii) The simple interest role applicable to the amount reaffirmed as of the data this disclosure
statement is given to the denton l ‘ilr. if different simple interest rates apply to
different balances included in the enlount reaffirmed the amount of each balance and the
rate applicable to lt are:

$' ` el"` " `eg,; `
$ @ %;

 

c. if the underlying dept transaction was disclosed as a venable rate transaction on the most fmcni
disclosure given under the anth in tending Act:

The interest rate on your loan may tie a venable interest rate which changes from time to time. so that the
annual percentage rate disclosed here may be higher or icwer.

 

d. if the reaffirmed debt is secured by a security interest or lien, which has not bean waived or
determined to tie void by a final order of the court. tile following items or types of items of the debtor‘s
goods cr property remain suinect to such security interest or lien in connecdon with the debt or debts
being reaffirmed in the reaffirmation agreement described in Part B.

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Houaa

 

 

 

 

 

thlgmi-~At the election of the creditor, e repayment schedule using one or a combination of the
foilowlng may be provided:

t.:--r-rr irrn--ir. .nr.=-rri l"

§- (chacit if applicable) Your first payment in the aniount of $ 926 . 79 is due on 04/05/06 (data).
but the fuuira payment amount may be dll'fererit, Consuit your reaffirms . agreement or credit
agreement, as applicable

    

Qr

(l:heck if applicable) A reasonably specific description of the debtors repayment obligations to the extent
known by the creditor or creditors representative

2. lN$TRUCTlONS AND NDT|CE TO DEBTOR

Reafflrmfng a debt is a canons financial decision The law requires you to take certain stops to make sure
the decision is in your best interest if these steps are not completed the reaffirmation agreement is not
t.‘tf’foctlvell oven though you have signed it.

1. Read the disclosures in this Pan A carefully Consider the decision to reaffirm carefully `i'hal'i. if you
want to reaffirm sign the reaffirmation agreement in F"art B (or you may usa a separate agreement you and
your creditor agree on).

2. Complete and slgn Part iii and be sure you can afford to make the payments you are agreeing to make
end have received a copy of the disclosure statement and a completed and signed reaffirmation agreement

3. If you were represented by an attorne dining tire negotiation er your reaffirmation agreement the
attorney must have signed the certification in C.

ii. if you were not represented by an attorney during the negotiation of your reafftnnation agreement you
l have ` end aimed F'ert iii y

feam""dll`€l" agreement idlth than the one in F'arl B) has bean signedl it must be attached

ti. .. -r ' ...ri-r. and you were represented by an attorney during the negotiation of
your r formation egreenreru. your reafiinnation agreement becomes effective upon filing with the court
unless the reaffirmation rs presumed to be an undue hardship as explained in Part D. |f the creditor is g Crar:lit
Ligion and you were represented by an attorney during the negotiation of your reaffirmation agreement your
reaffirmation agreement becomes effective upon filing with the oot.trt.

   
  
 

   

 

7. if you were not represented by an attorn¥y during the negotiation of your reaffirmation agreement lt will
not be effective unlesstho court approves lt. no counitiiii notifyyou and mecredttorofuraheadng on your
readirmation agr‘eenrent. You must attend ties hearing in bankruptcy court where the judge will review your
reaffirmation agreement Tha bankruptcy coun must approve your reaffirmation agearnent as consistent with
yf.'it.lt‘ best interests except that rio court approval is required if your reaffirmation agreement 15 i'fif d ddt'i$l.fff'l!l'
debt seemed by a mortgage deed of ti‘ust. security deed. or other lien on your real property. like your home

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YOUR RfGHT TO RE$G|ND (CANCEL) YDUR REAFFiRHATfON AGREEMENT

You may rescind (cancei) your reaffirmation agreement at any time before the bankruptcy court enters a
discharge order, or before the expiration of the 60»day period that begins on the date your reaffirmation
agreement is filed with the court whichever occurs iater. To rescind (canceii your reaffirmation agreementl
you must notify the creditor that your reaffirmation agreement is rescinded (or oanceled).

quuerltiy hackett Qt.leistiona:

   
  

t i.._ t l i t_ ' ..-r ‘ . = A reaffirmed debt remains your personal legal
obligation lt la not dtsclierged in your barauuptcy case. That means that if you default on your reeffinned
debtsfteryourbanltruptcycaseisover.yourcreditormaybeabietotalteyot.irpropenyoryourwagas.
Olhelwise,your ns\wiil bedelmmlrladbythereafiirmation ag'seinentwllldlmily have changed the

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.i t i.r be t itlddby`tilat` agreement or applicable iawito`chenge thame
ftrture under certain conditions

    
      

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debtbyenylaw. Onlyegreetoreeti`mnadebtlfitisinyourbestinterest.Besureyoucanaffordthe

 

     

  

  

. , a . _t= ~ -.. 1 t ita st t.==i'? Your bankruptcy discharge does not eliminate any lien
on your properly A "ila is often referred to as a security interest deed of trust mortgage or sectlrlty deed.
Evert if you do not reaffirm and your personal liability on the debt is discharged because of the lien your
creditor may still havedterlghttotalterhesecuntyproportyifyou donotpaythedebtordofauitonit. lfthe
lien is on an item of personal property that is exempt under your Statc`s law or that the trustee has
abandoned you may be able to redeem the item rather than recitinn the debt. To redeem, you malta a single
payment to the creditor equal to the carrera value of the security property, as agreed by the parties or
determined by the court

NCTE: When this disclosure refers to what a creditor "rnay" do. it does not use the word 'may" to

give ina creditor species permission The word "nlay' is used to tell you what might occur if tila law

pennits the creditor to take the action. lt you have questions about your reaffirming a debt or what the

law requiresl consult with the attorney who helped you negotiate this content reaffirming a dabt. if

you don't have an attorney helping you, the judge will explain the a act of your reaffirming a debt

when the hearing on the reaflimiatlon agreement ia heid.

limth REAFHRMATIQN AGRE£MENT
rig accommodate uncontested

     

     

i. Brief description cf credit agreement:

 

 

 

Date of l.oal'l: illile 4. 2001

original Anicuni oriented (clcced among i___.§.§d£c.§.l__
Oligii'lai Credit Limli (open end oniy) 5

Original Annuai Percerltage Rate: _ 1343 %
Filted or Variable Rate Fixgq_

 

2, Descriplion of any changes to the credit agreement made as part ct this reafflnnatlon agreemerit:

 

 

 

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dh:mm, (2)‘l;hls agreemem does not impose en undue hardship en the debtor e?:¢lg;adependglne?
t debler, end }lheve ful|yedv|eed the dehmrul'lhe legal effect&ll“ld Cm$equemes ofthis
agreemem end any default under this agreement `

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